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UNITED STATES DISTRICT COURT 2OISMAY -6 PM 3:47
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION ge rete COURT
UNITED STATES OF AMERICA
v. CASE NO. 6:19-cr- \\L- OLL-A0 LK
18 U.S.C. § 1349
JOLANTA KUCHARSKI
INFORMATION
The United States Attorney charges:

COUNT ONE

A. Introduction

L, eBay Inc. (eBay) is a multinational e-commerce corporation
based in San Jose, California, that facilitates consumer-to-consumer and
business-to-consumer sales through its website.

Z. PayPal Holdings, Inc. (PayPal) is an American company
operating a worldwide online payments system that supports online money
transfers and serves as an electronic alternative to traditional paper methods

like checks and money orders.
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B. Conspiracy

3. Beginning on or about a date unknown, and continuing through
on or about May 9, 2018, in the Middle District of Florida, and elsewhere, the
defendant, |

JOLANTA KUCHARSKI
did knowingly and willfully combine, conspire, confederate, and agree with
another person known to the United States Attorney:

To commit mail fraud, by knowingly and with intent to defraud,
devising, and intending to devise, a scheme and artifice to defraud, and for
obtaining money and property by means of false and fraudulent pretenses,
representations, and promises that related to material facts, and, for the
purpose of executing such scheme and artifice, knowingly placing in any post
office and authorized depository for mail matter to be sent and delivered by
the United States Postal Service; knowingly depositing and causing to be
deposited to be sent and delivered by a private and commercial interstate
carrier; knowingly taking and receiving from the United States Postal Service
and a private and commercial interstate carrier; and knowingly causing to be
delivered by mail and private and commercial interstate carrier, according to

the direction thereon, and at the place at which it was directed to be delivered
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by the person to whom it was addressed, any matter and thing, in violation of
18 U.S.C. § 1341.
C. Manner and Means
4. . The manner and means by which the defendant, JOLANTA
KUCHARSKI, sought to accomplish the conspiracy included, among others:

a. It was part of the conspiracy that the defendant,
JOLANTA KUCHARSKI, and a conspirator known to the United States
Attorney would and did use publicly available websites to obtain personal
identifying information, including names and dates of birth, of individuals that
was used without their knowledge or authorization to create fraudulent eBay
and PayPal accounts.

b. It was further part of the conspiracy that a conspirator
known to the United States Attorney negotiated the fraudulent sale of
products, predominantly gift cards, through eBay.

C, It was further part of the conspiracy that a conspirator
known to the United States Attorney caused the eBay customers to issue
payments via the fraudulent PayPal accounts.

d. It was further part of the conspiracy the defendant,
JOLANTA KUCHARSKI, and a conspirator known to the United States

Attorney, instead of mailing the purchased item to the customers, used the
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United States Postal Service to disguise their fraudulent activities. To that
effect the defendant, JOLANTA KUCHARSKI, and a conspirator known to
the United States Attorney mailed random items to other innocent
individuals, and used the United States Postal service tracking numbers to
represent to eBay and its customers that they had mailed the purchased items.
As a result, eBay customers never received the purchased items, and eBay
routinely denied their demands for refund.
e. It was further part of the conspiracy that the defendant,

JOLANTA KUCHARSKI, and a conspirator known to the United States
Attorney used the fraudulently obtained proceeds of their illegal activities to
purchase precious metals, which they received through the United States
Postal Service. |

All in violation of 18 U.S.C. § 1349.

FORFEITURE

1. The allegations contained in Count One are incorporated by
reference for the purpose of alleging forfeiture pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 18 U.S.C. § 1341, ora
conspiracy to violate 18 U.S.C. § 1341 (18 U.S.C. § 1349), the defendant shall

forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
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U.S.C. § 2461(c), any property, real or personal, which constitutes or is

derived from proceeds traceable to the violation.

3. The property to be forfeited includes, but is not limited to, a

money judgment in the amount of $64,000, which represents the proceeds of

the offense.

4, If any of the property described above, as a result of any act or

omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third
party;

has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be

divided without difficulty;
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the United States shall be entitled to forfeiture of substitute property under the
provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

MARIA CHAPA LOPEZ
United States_Attorney

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Ilianys Rivera Miranda
Assistant United States Attorney

By: T U6 MW

Roger B. Handberg
Assistant United States Attorney
Chief, Orlando Division

 
